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 5

 6
                           UNITED STATES DISTRICT COURT
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8

 9                                             ) NO. 07-cr-00248-WBS-7
     UNITED STATES OF AMERICA,                 )
10                                             )
                  Plaintiff-Appellee,          ) [PROPOSED] ORDER FOR
11                                             ) DISCLOSURE OF COPIES OF
           vs.                                 ) SEALED RECORDS TO
12                                             ) DEFENDANT’S APPELLATE
     ALVARO COBIAN GOMEZ,                      ) COUNSEL
13                                             )
                  Defendant-Appellant.         )
14                                             )
15

16                                          ORDER
17

18        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that
19   the sealed documents with Docket #1172, filed on October 30, 2012, and Docket
20   #1228, filed on June 25, 2013, shall be unsealed as to defendant’s appellate
21   counsel only and provided to defendant’s appellate counsel only for purposes of
22   evaluating their relevance to potential appellate issues.
23        IT IS FURTHER ORDERED that copies of the documents shall
24   be provided to counsel for the United States if they are referenced by
25   the defense in one or more of its briefs in the appeal. If the transcripts
26   are not referenced in the briefs but counsel for the United States
27   believes the transcripts are for some other reason relevant to an issue
28
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 1   raised in the defense briefs, counsel for the United States may apply
 2   for an order that he be provided with copies of the transcripts.
 3

 4         IT IS SO ORDERED.
 5                Dated: July 25, 2014
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